               Case 2:16-cr-00198-JAM Document 47 Filed 10/10/17 Page 1 of 2


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 5   Attorney for Defendant
     ANTONIA BRASLEY
 6

 7                               UNITED STATES DISTRICT COURT

 8                   IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
                                                      )   Case No.: Cr.S-16-198 JAM
10   United States of America,                        )
                                                      )   WAIVER OF APPEARANCE FOR
11                  Plaintiff,                        )   DEFEDNANT ANTONIA BRASLEY
                                                      )
12       vs.                                          )   Judge: John A. Mendez
     ANTONIA BRASLEY, et al.,                         )
13                                                    )
                    Defendants                        )
14                                                    )
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16          Defendant ANTONIA BRASLEY, hereby waives her right to be personally present in

17   open court for the hearing of any status conference, motion or other proceeding in this case,

18   except that she will agree to be personally present for any plea, sentencing or jury trial, and she

19   agrees to be personally present in court when ordered by the court to be present.

20          Defendant ANTONIA BRASLEY, hereby requests the court to proceed in her absence.

21   Defendant agrees that her interests will be deemed represented at all times by the presence of her

22   undersigned attorney, the same as if she were personally present. Defendant further agrees to be

23   present in court ready for trial on any date set by the court in her absence.

24          Defendant further acknowledges that she has been informed of his rights under the

25   Speedy Trial Act (Title 18 U.S.C. section 3161 – 3174), and he has authorized her undersigned




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               Case 2:16-cr-00198-JAM Document 47 Filed 10/10/17 Page 2 of 2



 1   attorney to set times for hearings and to agree to delays under the provisions of the Speedy Trial

 2   Act with her being personally present.

 3          The original signed copy of this document will be kept in Mr. Long’s file.

 4   Dated: October 7, 2017                                Respectfully submitted,

 5
                                                           /s/_____________________
 6                                                         By: ANTONIA BRASLEY
                                                           Defendant
 7

 8                                                         /s/       _______________
                                                           By: Michael D. Long
 9                                                         Attorney for Defendant
                                                           ANTONIA BRASLEY
10

11
            GOOD CAUSE APPEARING, Defendant ANTONIA BRASLEY’s waiver of personal
12
     appearance is accepted by the court. IT IS SO ORDERED.
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14
     Dated: 10/10/2017                     /s/ John A. Mendez____________
                                           Hon. John A. Mendez
15
                                           United States District Court Judge
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